                     6UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF NORTH CAROLINA
                          CHARLOTTE, NORTH CAROLINA

UNITED STATES OF AMERICA                      )
                                              )     DOCKET NO. 3:06CR00051
                   V.                         )
                                              )                 ORDER
JERMAINE BRYANT (1)                           )
MICHAEL LAMPKIN (2)                           )

       THIS MATTER is before the court upon Attorney’s motion to continue this matter from
the September 5, 2006 term of court. This will be the ONLY CONTINUANCE IN THIS
MATTER UNLESS A PARTY CAN SHOW A COMPELLING BASIS FOR ANOTHER
CONTINUANCE.

       The court finds the ends of justice served by taking such action outweighs the interest of
the public and Defendant to a speedy trial as set forth in 18 U.S.C. 3161(h)(8)(1).

        IT IS THEREFORE ORDERED that this trial be scheduled for 27 November 2006
term.

        The Clerk is directed to certify copies of this order to Defendant, counsel for the
Defendant, to the United States Attorney, the United States Marshals Service, and the United
States Probation Office.
                                                  Signed: August 31, 2006




    Case 3:06-cr-00051-FDW-DCK             Document 41       Filed 08/31/06      Page 1 of 1
